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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                        San Francisco Division

                                  11    RENEE MARIE LEPAGE,                               Case No. 17-cv-00600-LB
                                  12                   Plaintiff,
Northern District of California
 United States District Court




                                                                                          PROPOSED PRELIMINARY JURY
                                  13            v.                                        INSTRUCTIONS
                                  14    COUNTY OF NAPA, et al.,
                                  15                   Defendants.

                                  16

                                  17      The court proposes the attached preliminary jury instructions.
                                  18
                                  19      IT IS SO ORDERED.

                                  20      Dated: September 26, 2019

                                  21                                                  ______________________________________
                                                                                      LAUREL BEELER
                                  22                                                  United States Magistrate Judge
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                                   1                                     STATEMENT OF THE CASE

                                   2      On December 1, 2015, Plaintiff Renee LePage was in Courtroom E of the Napa County
                                       Superior Courthouse. She was wearing a neck brace from a recent spinal surgery. While Ms.
                                   3   LePage was present in the courtroom, an incident occurred and the courtroom was ordered cleared.
                                   4       Defendant Deputy Sheriff Timothy Reid was in the adjacent courtroom. He heard a call for
                                       assistance over the radio. He immediately walked quickly to Courtroom E. As Ms. LePage was
                                   5   exiting Courtroom E, she encountered defendant Reid in the vestibule area just outside the
                                       courtroom.
                                   6
                                           The parties disagree on what happened. Ms. LePage claims that defendant Reid made eye
                                   7   contact with her, approached her directly from the hallway, and slammed her with his heavy,
                                       bullet-proof vest, pushing her into the door, and (when she bounced back), grabbed both of her
                                   8   upper arms with both of his hands and forcefully threw her back against the same door.
                                   9       Deputy Reid denies he battered or used excessive force on anyone as he entered the courtroom.
                                       Deputy Reid asserts he moved through a crowd of people exiting to respond and gain entry into
                                  10   the courtroom to render assistance.
                                  11      Ms. LePage claims the incident with defendant Reid caused her serious pain, loss, and
                                       emotional suffering. She seeks compensatory and punitive damages against Deputy Reid and his
                                  12   employers, the Napa County Sheriff’s Department and the County of Napa. Deputy Reid denies
Northern District of California




                                       Ms. LePage’s medical issues are a result of contact between her and Deputy Reid.
 United States District Court




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                                                                               1.3: DUTY OF JURY
                                  15
                                          Members of the jury: You are now the jury in this case. It is my duty to instruct you on the
                                  16   law.
                                  17       It is your duty to find the facts from all the evidence in the case. To those facts you will apply
                                       the law as I give it to you. You must follow the law as I give it to you whether you agree with it or
                                  18   not. And you must not be influenced by any personal likes or dislikes, opinions, prejudices or
                                       sympathy. That means that you must decide the case solely on the evidence before you. You will
                                  19   recall that you took an oath to do so.
                                  20      At the end of the trial I will give you final instructions. It is the final instructions that will
                                       govern your duties.
                                  21
                                           Please do not read into these instructions, or anything I may say or do, that I have an opinion
                                  22   regarding the evidence or what your verdict should be.
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                                   1                                   1.5: CLAIMS AND DEFENSES

                                   2        To help you follow the evidence, I will give you a brief summary of the positions of the parties
                                       at trial.
                                   3
                                           Plaintiff Renee LePage asserts that defendant Reid used excessive force against her in the
                                   4   vestibule area outside a courtroom at the Napa County courthouse. Ms. LePage brings her claims
                                       under the United States Constitution, federal and California civil rights laws (42 U.S.C. § 1983
                                   5   and the Bane Act), and California common law (the battery and negligence claims). The plaintiff
                                       has the burden of proving these claims by a preponderance of the evidence.
                                   6
                                           The defendants deny these claims. The defendants have raised a number of defenses, including
                                   7   that Deputy Reid acted reasonably. The defendants have the burden of proof on their affirmative
                                       defenses.
                                   8
                                          The plaintiff denies defendants’ affirmative defenses.
                                   9

                                  10
                                                1.6: BURDEN OF PROOF — PREPONDERANCE OF THE EVIDENCE
                                  11
                                           When a party has the burden of proving any claim or affirmative defense by a preponderance
                                  12   of the evidence, it means you must be persuaded by the evidence that the claim or affirmative
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                                       defense is more probably true than not true.
                                  13
                                          You should base your decision on all of the evidence, regardless of which party presented it.
                                  14

                                  15
                                                                         1.9: WHAT IS EVIDENCE
                                  16
                                          The evidence you are to consider in deciding what the facts are consists of:
                                  17
                                              1. the sworn testimony of any witness;
                                  18
                                              2. the exhibits that are admitted into evidence;
                                  19
                                              3. any facts to which the lawyers have agreed; and
                                  20
                                              4. any facts that I may instruct you to accept as proved.
                                  21

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                                   1                                 1.10: WHAT IS NOT EVIDENCE

                                   2       In reaching your verdict, you may consider only the testimony and exhibits received into
                                       evidence. Certain things are not evidence, and you may not consider them in deciding what the
                                   3   facts are. I will list them for you:
                                   4          1. Arguments and statements by lawyers are not evidence. The lawyers are not witnesses.
                                                 What they may say in their opening statements, closing arguments and at other times is
                                   5             intended to help you interpret the evidence, but it is not evidence. If the facts as you
                                                 remember them differ from the way the lawyers have stated them, your memory of
                                   6             them controls.
                                   7          2. Questions and objections by lawyers are not evidence. Attorneys have a duty to their
                                                 clients to object when they believe a question is improper under the rules of evidence.
                                   8             You should not be influenced by the objection or by the court’s ruling on it.
                                   9          3. Testimony that is excluded or stricken, or that you are instructed to disregard, is not
                                                 evidence and must not be considered. In addition some evidence may be received only
                                  10             for a limited purpose; when I instruct you to consider certain evidence only for a
                                                 limited purpose, you must do so and you may not consider that evidence for any other
                                  11             purpose.
                                  12          4. Anything you may see or hear when the court was not in session is not evidence. You
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                                                 are to decide the case solely on the evidence received at the trial.
                                  13

                                  14
                                                          1.12: DIRECT AND CIRCUMSTANTIAL EVIDENCE
                                  15
                                           Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
                                  16   testimony by a witness about what that witness personally saw or heard or did. Circumstantial
                                       evidence is proof of one or more facts from which you could find another fact. You should
                                  17   consider both kinds of evidence. The law makes no distinction between the weight to be given to
                                       either direct or circumstantial evidence. It is for you to decide how much weight to give to any
                                  18   evidence.
                                  19       By way of example, if you wake up in the morning and see that the sidewalk is wet, you may
                                       find from that fact that it rained during the night. However, other evidence, such as a turned on
                                  20   garden hose, may provide a different explanation for the presence of water on the sidewalk.
                                       Therefore, before you decide that a fact has been proved by circumstantial evidence, you must
                                  21   consider all the evidence in the light of reason, experience and common sense.
                                  22

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                                   1                                  1.13: RULING ON OBJECTIONS

                                   2      There are rules of evidence that control what can be received into evidence. When a lawyer
                                       asks a question or offers an exhibit into evidence and a lawyer on the other side thinks that it is not
                                   3   permitted by the rules of evidence, that lawyer may object. If I overrule the objection, the question
                                       may be answered or the exhibit received. If I sustain the objection, the question cannot be
                                   4   answered, and the exhibit cannot be received. Whenever I sustain an objection to a question, you
                                       must ignore the question and must not guess what the answer might have been.
                                   5
                                            Sometimes I may order that evidence be stricken from the record and that you disregard or
                                   6   ignore that evidence. That means when you are deciding the case, you must not consider the
                                       stricken evidence for any purpose.
                                   7

                                   8
                                                                    1.14: CREDIBILITY OF WITNESSES
                                   9
                                            In deciding the facts in this case, you may have to decide which testimony to believe and
                                  10   which testimony not to believe. You may believe everything a witness says, or part of it, or none
                                       of it.
                                  11
                                          In considering the testimony of any witness, you may take into account:
                                  12
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                                              1. the opportunity and ability of the witness to see or hear or know the things testified to;
                                  13
                                              2. the witness’s memory;
                                  14
                                              3. the witness’s manner while testifying;
                                  15
                                              4. the witness’s interest in the outcome of the case, if any;
                                  16
                                              5. the witness’s bias or prejudice, if any;
                                  17
                                              6. whether other evidence contradicted the witness’s testimony;
                                  18
                                              7. the reasonableness of the witness’s testimony in light of all the evidence; and
                                  19
                                              8. any other factors that bear on believability.
                                  20
                                           Sometimes a witness may say something that is not consistent with something else he or she
                                  21   said. Sometimes different witnesses will give different versions of what happened. People often
                                       forget things or make mistakes in what they remember. Also, two people may see the same event
                                  22   but remember it differently. You may consider these differences, but do not decide that testimony
                                       is untrue just because it differs from other testimony.
                                  23
                                           However, if you decide that a witness has deliberately testified untruthfully about something
                                  24   important, you may choose not to believe anything that witness said. On the other hand, if you
                                       think the witness testified untruthfully about some things but told the truth about others, you may
                                  25   accept the part you think is true and ignore the rest.
                                  26       The weight of the evidence as to a fact does not necessarily depend on the number of witnesses
                                       who testify. What is important is how believable the witnesses were, and how much weight you
                                  27   think their testimony deserves.
                                  28

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                                   1                                    1.15: CONDUCT OF THE JURY

                                   2       I will now say a few words about your conduct as jurors.
                                   3       First, keep an open mind throughout the trial, and do not decide what the verdict should be
                                       until you and your fellow jurors have completed your deliberations at the end of the case.
                                   4
                                           Second, because you must decide this case based only on the evidence received in the case and
                                   5   on my instructions as to the law that applies, you must not be exposed to any other information
                                       about the case or to the issues it involves during the course of your jury duty. Thus, until the end
                                   6   of the case or unless I tell you otherwise:
                                   7       Do not communicate with anyone in any way and do not let anyone else communicate with
                                       you in any way about the merits of the case or anything to do with it. This includes discussing the
                                   8   case in person, in writing, by phone or electronic means, via email, text messaging, or any internet
                                       chat room, blog, website or application, including but not limited to Facebook, YouTube, Twitter,
                                   9   Instagram, LinkedIn, Snapchat, or any other forms of social media. This applies to communicating
                                       with your fellow jurors until I give you the case for deliberation, and it applies to communicating
                                  10   with everyone else including your family members, your employer, the media or press, and the
                                       people involved in the trial, although you may notify your family and your employer that you have
                                  11   been seated as a juror in the case, and how long you expect the trial to last. But, if you are asked or
                                       approached in any way about your jury service or anything about this case, you must respond that
                                  12   you have been ordered not to discuss the matter and report the contact to the court.
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 United States District Court




                                  13       Because you will receive all the evidence and legal instruction you properly may consider to
                                       return a verdict: do not read, watch or listen to any news or media accounts or commentary about
                                  14   the case or anything to do with it,although I have no information that there will be news reports
                                       about this case; do not do any research, such as consulting dictionaries, searching the Internet, or
                                  15   using other reference materials; and do not make any investigation or in any other way try to learn
                                       about the case on your own. Do not visit or view any place discussed in this case, and do not use
                                  16   Internet programs or other devices to search for or view any place discussed during the trial. Also,
                                       do not do any research about this case, the law, or the people involved — including the parties, the
                                  17   witnesses or the lawyers — until you have been excused as jurors. If you happen to read or hear
                                       anything touching on this case in the media, turn away and report it to me as soon as possible.
                                  18
                                            These rules protect each party’s right to have this case decided only on evidence that has been
                                  19   presented here in court. Witnesses here in court take an oath to tell the truth, and the accuracy of
                                       their testimony is tested through the trial process. If you do any research or investigation outside
                                  20   the courtroom, or gain any information through improper communications, then your verdict may
                                       be influenced by inaccurate, incomplete or misleading information that has not been tested by the
                                  21   trial process. Each of the parties is entitled to a fair trial by an impartial jury, and if you decide the
                                       case based on information not presented in court, you will have denied the parties a fair trial.
                                  22   Remember, you have taken an oath to follow the rules, and it is very important that you follow
                                       these rules.
                                  23
                                           A juror who violates these restrictions jeopardizes the fairness of these proceedings, and a
                                  24   mistrial could result that would require the entire trial process to start over. If any juror is exposed
                                       to any outside information, please notify the court immediately.
                                  25

                                  26
                                                              1.17: NO TRANSCRIPT AVAILABLE TO JURY
                                  27
                                           I urge you to pay close attention to the trial testimony as it is given. During deliberations you
                                  28   will not have a transcript of the trial testimony.

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                                   1                                        1.18: TAKING NOTES

                                   2       If you wish, you may take notes to help you remember the evidence. If you do take notes,
                                       please keep them to yourself until you go to the jury room to decide the case. Do not let notetaking
                                   3   distract you. When you leave, your notes should be left in the courtroom. No one will read your
                                       notes.
                                   4
                                           Whether or not you take notes, you should rely on your own memory of the evidence. Notes
                                   5   are only to assist your memory. You should not be overly influenced by your notes or those of
                                       other jurors.
                                   6

                                   7
                                                             1.19: QUESTIONS TO WITNESSES BY JURORS
                                   8
                                           You will be allowed to propose written questions to witnesses after the lawyers have
                                   9   completed their questioning of each witness. You may propose questions in order to clarify the
                                       testimony, but you are not to express any opinion about the testimony or argue with a witness. If
                                  10   you propose any questions, remember that your role is that of a neutral fact finder, not an
                                       advocate.
                                  11
                                           Before I excuse each witness, I will offer you the opportunity to write out a question on a form
                                  12   provided by the court. Do not sign the question. I will review the question with the attorneys to
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                                       determine if it is legally proper.
                                  13
                                           There are some proposed questions that I will not permit, or will not ask in the wording
                                  14   submitted by the juror. This might happen either due to the rules of evidence or other legal
                                       reasons, or because the question is expected to be answered later in the case. If I do not ask a
                                  15   proposed question, or if I rephrase it, do not speculate as to the reasons. Do not give undue weight
                                       to questions you or other jurors propose. You should evaluate the answers to those questions in the
                                  16   same manner you evaluate all of the other evidence.
                                  17       By giving you the opportunity to propose questions, I am not requesting or suggesting that you
                                       do so. It will often be the case that a lawyer has not asked a question because it is legally
                                  18   objectionable or because a later witness may be addressing that subject.
                                  19

                                  20                         1.20: BENCH CONFERENCES AND RECESSES

                                  21       From time to time during the trial, it may become necessary for me to talk with the attorneys
                                       out of the hearing of the jury, either by having a conference at the bench when the jury is present
                                  22   in the courtroom, or by calling a recess. Please understand that while you are waiting, we are
                                       working. The purpose of these conferences is not to keep relevant information from you, but to
                                  23   decide how certain evidence is to be treated under the rules of evidence and to avoid confusion
                                       and error.
                                  24
                                          Of course, we will do what we can to keep the number and length of these conferences to a
                                  25   minimum. I may not always grant an attorney’s request for a conference. Do not consider my
                                       granting or denying a request for a conference as any indication of my opinion of the case or of
                                  26   what your verdict should be.
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                                   1                                     1.21: OUTLINE OF TRIAL

                                   2      Trials proceed in the following way: First, each side may make an opening statement. An
                                       opening statement is not evidence. It is simply an outline to help you understand what that party
                                   3   expects the evidence will show. A party is not required to make an opening statement.
                                   4      The plaintiff will then present evidence, and counsel for the defendant may cross-examine.
                                       Then the defendant may present evidence, and counsel for the plaintiff may cross-examine.
                                   5
                                          After the evidence has been presented, I will instruct you on the law that applies to the case
                                   6   and the attorneys will make closing arguments.
                                   7      After that, you will go to the jury room to deliberate on your verdict.
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